     Case 2:21-cv-00092-CDS-DJA Document 18 Filed 11/23/22 Page 1 of 1


 1                               UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3

4     DAVID MURPHY,                                        Case No. 2:21-cv-00092-CDS-DJA

 5                                Petitioner         Order Granting Extension of Time to File
             v.                                      First-Amended Petition to January 3, 2023
 6

 7    CALVIN JOHNSON, et al.,
                                                                     (ECF No. 17)
 8                                Respondents

 9

10          28 U.S.C. § 2254 habeas corpus petitioner David Murphy seeks an extension of time to

11   file an amended petition. (ECF No. 17.) He indicates that respondents do not oppose. Good

12   cause appearing,

13          IT IS ORDERED that petitioner’s second motion for extension of time to file an

14   amended petition (ECF No. 17) is GRANTED. The deadline to file the amended petition is

15   extended to January 3, 2023.

16          DATED: November 23, 2022

17

18
                                                UNITED STATES DISTRICT JUDGE
19
20

21

22

23

24

25

26

27

28
